                          UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF PUERTO RICO



 IN RE                                                       Case No. 11-06637

 JUAN C. BALCELLS GALLARETA
                                                              CHAPTER 7
 Debtor



             RESPONSE IN OPPOSITION TO OBJECTION TO CLAIM # 5-1

TO THE HONORABLE COURT:

   COMES NOW, Amarilys González García (hereinafter referred to as “González”), through

its undersigned counsel, and very respectfully states and prays as follows:

   1. Debtor, Juan Carlos Balcells Gallareta, filed the bankruptcy petition genesis of this case on

August 5, 2011. [D.E. 1].

   2. Gonzalez, a creditor of the Debtor, filed a Domestic Support Obligation (“DSO”) proof of

claim on February 8, 2012. [P.O.C. 5-1].

   3. A discharge under section 727, 1141, 1228(a), 1228(b), or 1328(b) does not discharge an

individual debtor from any debt for a DSO. See 11 U.S.C. Sec. 523(a)(5).

   4. On March 27, 2019, Noreen Wiscovitch Rentas, as Chapter 7 Trustee of the Bankruptcy

Estate, filed an Objection to Claim at No. 5-1 [D.E. 157] asserting that the amount of Claim 5-1 is

incorrect and lacks basis. However, the Trustee accepts the DSO claim in the principal amount of

$125,046.00.

   5. Pursuant to 11 U.S.C. Sec. 101(14A), the term “domestic support obligation” means a debt

that accrues before, on, or after the date of the order for relief in a case under this title, including




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interest that accrues on that debt as provided under applicable nonbankruptcy law notwithstanding

any other provision of this title, that is—

   (A) owed to or recoverable by—

   (i) a spouse, former spouse, or child of the debtor or such child’s parent, legal guardian, or

responsible relative; or

   (ii) a governmental unit;

   (B) in the nature of alimony, maintenance, or support (including assistance provided by a

governmental unit) of such spouse, former spouse, or child of the debtor or such child’s parent,

without regard to whether such debt is expressly so designated;

   (C) established or subject to establishment before, on, or after the date of the order for relief in

a case under this title, by reason of applicable provisions of—

   (i) a separation agreement, divorce decree, or property settlement agreement;

   (ii) an order of a court of record; or

   (iii) a determination made in accordance with applicable nonbankruptcy law by a governmental

unit; and

   (D) not assigned to a nongovernmental entity, unless that obligation is assigned voluntarily by

the spouse, former spouse, child of the debtor, or such child’s parent, legal guardian, or responsible

relative for the purpose of collecting the debt.

   6. Allowed unsecured claims for domestic support obligations that, as of the date of the filing

of the petition, are owed to or recoverable by a spouse, former spouse, or child of the debtor, or

such child’s parent, legal guardian, or responsible relative, are regarded as first in priority under

11 U.S.C. Sec. 507.




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   7. Pursuant to Article 147 of the Puerto Rico Civil Code, “child support payments shall begin

to accrue legal interest for delinquency from the moment sentence is pronounced or, if from month

to month, from the time the obligation became due or should have been met.” 31 P.R.L.A. Sec.

566.

   8. As of the filing of the DSO proof of claim # 5-1 on Feburary 8, 2012, Mrs. González

calculated the estimated amount of the DSO plus interest since no decision had yet been reached

by the Court of First Instance, Bayamon Judicial Center.

   9. As readily appears from the Opinion and Order of the Court of First Instance, Bayamon

Judicial Center [D.E. 157-1] of July 23, 2012, notified on August 27, 2012, the mortgage payment

for the home was considered a part of the support obligation. [See. D.E . 157-1, page 3]. The Court

of First Instance, after making the corresponding calculations, including any mortgage payments,

determined that the principal amount of the DSO as of August 31, 2011 the Debtor should have

paid $270,928.00, and had only paid $145,882.00, resulting in a debt outstanding of $125,046.00

as of the filing of the bankruptcy petition.

   10. Pursuant to Article 1649 of the Puerto Rico Civil Code, the applicable legal interest is six

percent (6%) per annum. 31 P.R.L.A. Sec. 4591.

   11. The principal amount of $125,046.00 as of August 31, 2011 accrues legal interest at 6%

per annum, which amounts to $7,502.06 per year, and $20.83 per diem.

   12. As of today, the principal amount of $125,046.00 owed and outstanding since August 31,

2011 has accrued interest at 6% per annum in the amount of $57,576.11 and continues to accrue

interest of $20.83 per diem.

   13. Therefore, the total amount of principal and interest owed and outstanding of the DSO as

of today is $182,622.11 and continues to accrue interest of $20.83 per diem.



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    14. Mrs. González is filing an amended proof of claim on even date herewith to correctly reflect

the amounts due.

    15. Mrs. Gonzalez children provided Sworn Statements ratifying their mother’s actions on

their behalf, and authorizing her to continue acting as such, although pursuant to 11 U.S.C. Sec.

101(14A) she is owed and can recover the DSO. See Exhibits 1 and 2.

        WHEREFORE, González respectfully prays this Honorable Court denies the Trustee’s

Objection to Claim 5-1.

    CERTIFICATE OF SERVICE: I hereby certify that on this same date, I electronically filed
the foregoing with the Clerk of the Court using the CM/ECF system, which will send notification
of such filing to all participants of CM/ECF system.

                                               NOTICE
        Within fourteen (14) days after service as evidenced by the certification, and an additional
three (3) days pursuant to Fed. R. Bank. P. 9006(f) if you were served by mail, any party against
whom this paper has been served, or any other party to the action who objects to the relief sought
herein, shall serve and file an objection or other appropriate response to this paper with the clerk’s
office of the United States Bankruptcy Court for the District of Puerto Rico. If no objection or
other response is filed within the time allowed herein, the paper will be deemed unopposed and
may be granted unless: (i) the requested relief is forbidden by law; (ii) the requested relief is against
public policy; or (iii) in the opinion of the court, the interest of justice requires otherwise.

    RESPECTFULLY SUBMITTED.

    In San Juan, Puerto Rico, this May 3, 2019.

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